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                           3                            UNITED STATES DISTRICT COURT
                           4                        NORTHERN DISTRICT OF CALIFORNIA
                           5

                           6    UNITED STATES OF AMERICA,
                           7                Plaintiff,                        CR 05-00375
                           8          v.                                      STIPULATION AND ORDER TO
                                                                              ALLOW CONTACT BETWEEN CO-
                           9    ROSALIA MENDOZA,                              DEFENDANTS
                         10                 Defendant.
                                                                  /
                         11

                         12           IT IS HEREBY STIPULATED BY AND BETWEEN THE PARTIES that the
                         13     pretrial release conditions of defendants ROSALIA MENDOZA and
                         14     SERGIO ALVAREZ shall be modified to so that said defendants may
                         15     have contact with each other during the pendency of this case.
                         16

                         17      /s/ ANDREW SCOBEL                          /s/ GABRIEL CASWELL
                                ANDREW SCOBLE                               GABRIEL CASWELL
                         18     Assistant U.S. Attorney                     Attorney for Rosalia Mendoza
                                Dated: September 1, 2005                    Dated: September 7, 2005
                         19

                         20      /s/ TERENCE HALLINAN
                                TERENCE HALLINAN
                         21     Attorney for Sergio Alvarez
                                Dated: August 22, 2005
                         22

                         23           IT IS SO ORDERED.
                         24           Dated: 9/13/05
                         25
                                                                       MAGISTRATE JUDGE
                         26                                            United States District Court
                         27
P IE R 5 L A W O F FIC E S
    506 BRO AD W A Y
    SAN FR AN C ISC O
                           28
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